Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 1 of 35 PageID #:373
          Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 2 of 35 PageID #:374




                                                                                                             Page 1
John & Sarah Reed IV
2304 S. 79th Ave.
Yakima, WA 98403



Account #: 204017
Account type: Cash
Term Length: 5 years
(NOTE: interest is compounding)

$160,000 The CEO Bonus (200% bonus on your originally invested principal) that will be paid out to you at the
close of your account, or your move to the SOP. Note that this amount will not accrue interest nor change. This is a
reward for your patience.

Compound Period:                  Annual

Nominal Annual Rate:              20.000%


AMORTIZATION SCHEDULE - Normal Amortization

              Date       Invest    Return   Interest Net Change         Balance
    Invest 4/6/2005 40,000.00                         40,000.00        40,000.00
    Invest 9/12/2005 40,000.00             3,484.93   43,484.93        83,484.93
        1 3/29/2007             31,050.97 27,566.04    3,484.93-       80,000.00
        2 3/31/2008                  0.00 16,105.21   16,105.21        96,105.21
Grand Totals         80,000.00 31,050.97 47,156.18    96,105.21

An open balance of 96,105.21 still remains.
          Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 3 of 35 PageID #:375




                                                                                       Page 1
John & Sarah Reed IV
2304 S. 79th Ave.
Yakima, WA 98403



Account #: 204017--SOP
Account type: Cash
Term Length: 2 years
(NOTE: interest is compounding)

41,051 Warrants for Fresh dollars and interest Rollover
6,210 20% bonus Warrants on interest rolled over for being in IFC since 2003
47,261 Total Warrants as of 03.29.07

Compound Period:                  Annual

Nominal Annual Rate:              18.000%


AMORTIZATION SCHEDULE - Normal Amortization

              Date       Invest     Return   Interest Net Change Balance
    Invest 3/30/2007 10,000.00                         10,000.00 10,000.00
    Invest 3/30/2007 31,050.97                   0.00 31,050.97 41,050.97
        1 3/31/2008                    0.00 7,413.06     7,413.06 48,464.03
Grand Totals         41,050.97         0.00 7,413.06 48,464.03

An open balance of 48,464.03 still remains.
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 4 of 35 PageID #:376
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 5 of 35 PageID #:377
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 6 of 35 PageID #:378
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 7 of 35 PageID #:379
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 8 of 35 PageID #:380
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 9 of 35 PageID #:381
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 10 of 35 PageID #:382
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 11 of 35 PageID #:383
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 12 of 35 PageID #:384
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 13 of 35 PageID #:385
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 14 of 35 PageID #:386
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 15 of 35 PageID #:387
         Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 16 of 35 PageID #:388




                                                                                                      Page 1



Ravikumar & Sumathi Jammalamadaka
5 Amy Drive
North Brunswick, NJ 08902




Account #: 104106
Account Type: Cash
Term Length: 5 years

Compound Period:                            Annual

Nominal Annual Rate:                        8.900%


AMORTIZATION SCHEDULE ‐ Normal Amortization, 360 Day Year

                   Date        Invest Balance Date          Return Interest Net Change Balance
         Invest 11/18/2003 25,000.00                                         25,000.00 25,000.00
2003 Totals                25,000.00          0.00            0.00     0.00  25,000.00

               1   4/21/2006                               5,000.00 5,784.12       784.12 25,784.12
               2   6/26/2006                              20,000.00 420.71     19,579.29‐ 6,204.83
               3   6/26/2006                               2,171.69     0.00    2,171.69‐ 4,033.14
               4   6/27/2006                               2,700.00     1.00    2,699.00‐ 1,334.14
2006 Totals                         0.00             0.00 29,871.69 6,205.83   23,665.86‐

  Balance Date     3/31/2008                         0.00             218.23      218.23   1,552.37
  Balance Date     6/30/2008                         0.00              34.92       34.92   1,587.29
  Balance Date     9/30/2008                         0.00              36.10       36.10   1,623.39
  Balance Date     12/31/2008                        0.00              36.92       36.92   1,660.31
2008 Totals                         0.00             0.00      0.00   326.17      326.17

Grand Totals                    25,000.00            0.00 29,871.69 6,532.00    1,660.31

An open balance of 1,660.31 still remains.
         Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 17 of 35 PageID #:389




                                                                                                                  Page 1



Ravikumar Jammalamadaka
5 Amy Drive
North Brunswick, NJ 08902




Account #: 204001
Account Type: Cash
Term Length: 5 years

$200,000 The CEO Bonus (200% bonus on your originally invested principal) that will be paid out to you at
the close of your account, or your move to the SOP. Note that this amount will not accrue interest nor
change. This is a reward for your patience.

Rate Period:                       Quarterly

Nominal Annual Rate:               25.000%


AMORTIZATION SCHEDULE ‐ U.S. Rule (no compounding), 360 Day Year

                                     Interest    Interest   Principal   ‐‐‐‐‐‐‐‐‐‐‐‐ Balance Due ‐‐‐‐‐‐‐‐‐‐‐‐
             Date    Payment         Accrued         Paid       Paid      Interest       Principal        Total
     Loan 12/28/2004                     0.00        0.00       0.00          0.00 100,000.00 100,000.00
2004 Totals             0.00             0.00        0.00       0.00

        1 1/5/2006      15,000.00 25,555.56 15,000.00      0.00 10,555.56            100,000.00 110,555.56
        2 4/3/2006      17,228.49 6,111.11 16,666.67     561.82      0.00             99,438.18 99,438.18
        3 6/21/2006     20,000.00 5,455.29 5,455.29 14,544.71        0.00             84,893.47 84,893.47
2006 Totals             52,228.49 37,121.96 37,121.96 15,106.53

        4 1/2/2008       4,500.00 32,483.54     4,500.00        0.00    27,983.54     84,893.47   112,877.01
        5 3/31/2008          0.00 5,246.89          0.00        0.00    33,230.43     84,893.47   118,123.90
        6 6/30/2008          0.00 5,305.84          0.00        0.00    38,536.27     84,893.47   123,429.74
        7 9/30/2008          0.00 5,305.84          0.00        0.00    43,842.11     84,893.47   128,735.58
        8 12/31/2008         0.00 5,305.84          0.00        0.00    49,147.95     84,893.47   134,041.42
2008 Totals              4,500.00 53,647.95     4,500.00        0.00

Grand Totals            56,728.49 90,769.91 41,621.96 15,106.53

An open balance of 134,041.42 still remains.
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 18 of 35 PageID #:390
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 19 of 35 PageID #:391
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 20 of 35 PageID #:392
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 21 of 35 PageID #:393
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 22 of 35 PageID #:394
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 23 of 35 PageID #:395
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 24 of 35 PageID #:396
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 25 of 35 PageID #:397
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 26 of 35 PageID #:398
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 27 of 35 PageID #:399
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 28 of 35 PageID #:400
         Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 29 of 35 PageID #:401




                                                                                                           Page 1
Jonathan Patton
4021‐C Camellia Drive
Valdosta, GA 31605




Account #:    204048
Account Type: Cash
Term Length: 2 years

Rate Period:                    Annual

Nominal Annual Rate:            14.000%


AMORTIZATION SCHEDULE ‐ U.S. Rule (no compounding)

                                      Interest Interest Principal ‐‐‐‐‐‐‐‐‐‐‐‐ Balance Due ‐‐‐‐‐‐‐‐‐‐‐‐
           Date        Loan Payment Accrued        Paid     Paid    Interest       Principal       Total
  Loan 12/11/2006 40,000.00               0.00     0.00     0.00        0.00      40,000.00 40,000.00
  Loan 3/31/2008       0.00          7,287.67      0.00     0.00 7,287.67         40,000.00 47,287.67
  Loan 6/30/2008       0.00          1,396.16      0.00     0.00 8,683.83         40,000.00 48,683.83
  Loan 9/30/2008       0.00          1,411.51      0.00     0.00 10,095.34        40,000.00 50,095.34
  Loan 12/31/2008      0.00          1,411.51      0.00     0.00 11,506.85        40,000.00 51,506.85
  Loan 3/31/2009       0.00          1,380.82      0.00     0.00 12,887.67        40,000.00 52,887.67
Grand Totals      40,000.00    0.00 12,887.67      0.00     0.00

An open balance of 52,887.67 still remains.
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 30 of 35 PageID #:402
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 31 of 35 PageID #:403
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 32 of 35 PageID #:404
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 33 of 35 PageID #:405
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 34 of 35 PageID #:406
Case: 1:09-cv-01221 Document #: 58-2 Filed: 04/27/09 Page 35 of 35 PageID #:407
